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Case 2:07-cr-00143-SRC         Document 239           Filed 05/04/11     Page 1 of 1 PageID: 1288



                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

                           UNITED STATES v. MARCKESE STEWART

                                  PETITION FOR
                           WRIT      HABEAS QRPUS
 I .MARCKESE STEWART, DOB:                   ‘
                                                 SBI#:150812C, is now confined to Southwoods
 State Prison.

2.MARCKESE STEWART, DOB:                  ‘ SBI#: 150812C will be required at the United
States Court House in Newark. New Jersey before the Hon. Stanley R. Chesler, U.S. District
Judge, on Monday, May 9. 201 t, at 11:00 am, for a Plea Hearing, in the above-captioned
case. A Writ of Habeas Corpus should be issued for that purpose.


DATED: May 2, 2011
       Newark, NJ                        Melissa Ja po, Assistant U.S. Attorney
                                         Petitioner

                                       ORDER
Let the Writ Issue.


DATED:   6i5 /9e
                                         H       .   Stanley R. Chesler, U.S.D.J.

                           WRIT Qj HABEAS CORPUS

The United States of America to Warden of Southwoods State Prison
WE COMMAND YOU that you have the body of

                MARCKESE STEWART. L..                          1
                                                                   SBI#:160812C
now confined at the Southwoods State Prison, brought before the United States District
Court, before the Hon. Stanley R, Chester, U.S. District Judge, on Monday, May 9. 2011,
at 11:00 am, for a Plea Hearing.

      WITNESS the Hon. Stanley R. Chesler
      United States District Judge
      Newark, New Jersey.


DATED:5
               ) U    i•                WILLIAM T. WALSH
                                        Clerk of the U.S. District Court
                                        for the District of New Jersey

                                        Perh t
                                           Deputy Clerk
